
962 So.2d 1074 (2007)
In re J. Maurice THOMAS.
No. 2007-B-1720.
Supreme Court of Louisiana.
August 23, 2007.

ORDER
Considering the record of these matters,
IT IS ORDERED that respondent, J. Maurice Thomas, Louisiana Bar Roll number 27307, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the matter bearing this court's docket number 07-B-0994 be remanded to the disciplinary board for consolidation with the proceedings numbered 07-DB-029 as well as any pending investigative matters. After appropriate consideration of the consolidated matters, the board is directed to issue a single recommendation of discipline to this court encompassing all disciplinary matters involving respondent.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
